

Matter of YH Lex Estates LLC v Bartolacci (2023 NY Slip Op 02089)





Matter of YH Lex Estates LLC v Bartolacci


2023 NY Slip Op 02089


Decided on April 25, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 25, 2023

Before: Kapnick, J.P., Kern, Friedman, Gesmer, Pitt-Burke, JJ. 


Index No. 151267/22 Appeal No. 103 Case No. 2022-01811 

[*1]In the Matter of YH Lex Estates LLC, Petitioner-Respondent,
vRanee A. Bartolacci et al., Respondents-Appellants, Nir Meir, Respondent.


YK Law LLP, New York (Pankaj Malik of counsel), for appellants.
Susman Godfrey L.L.P., New York (Mark H. Hatch-Miller of counsel), for respondent.



Order, Supreme Court, New York County (Joel M. Cohen, J.), entered April 28, 2022, which, among other things, denied the motion of respondents Ranee A. Bartolacci and Ermitage One, LLC to stay the trial in this special proceeding, unanimously affirmed, without costs.
The appeal is moot as to the requested stay since the matter has been resolved without a trial. We find no abuse of discretion in the court's discovery order.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: April 25, 2023








